OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                           UNITED STATES DISTRICT COURT
                                                             for the
                                           Western District of North Carolina

             United States of America
                        v.
                                                            Case No: 3:97CR00166-013
               BOBBY COLLINS, Jr.
                                                            USM No: 13153-058
Date of Previous Judgment: February 23, 1999 D. Baker McIntyre, III
(Use Date of Last Amended Judgment if Applicable)           Defendant’s Attorney

          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

                                                the Director of the
         Upon motion of  the defendant  Bureau of Prisons            the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range
that has subsequently been lowered and made retroactive by the United States Sentencing Commission
pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
                        GRANTED and the defendant’s previously imposed sentence of imprisonment
        DENIED.     (as reflected in
                    the last judgment issued) of 168 months is reduced to 137 months          .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    39   Amended Offense Level:        37
Criminal History Category: IV   Criminal History Category:    IV
                                    360
Previous Guideline Range:           months      to   life   Amended Guideline Range:      292       to 365   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the
 defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably
   less than the amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
Except as provided above, all provisions of the               February 23, 1999 shall remain in effect.
IT IS SO ORDERED.

Order Date:        October 2, 2008


Effective Date:
                    (if different from order date)


                 Case 3:97-cr-00166-GCM                      Document 299          Filed 10/02/08     Page 1 of 1
